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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                       Case No. 05-cr-215-05-PB

Jerome Carter


                                O R D E R


     The Government has moved to continue the June 5, 2007 trial

in the above case against Jerome Carter in order to allow the

case against co-defendants Larry and Christopher Stallings to be

completed before commencing the trial against defendant Carter.

The trial for Larry and Christopher Stallings is currently

scheduled to commence on June 19, 2007.        All parties assent to

the request for a continuance of the trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from June 5, 2007 to June 19, 2007.             In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the
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ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

May 24, 2007

cc:   Donald Feith, AUSA
      R.P. Cornelius, Esq.
      William T. Cornelius, Esq.
      William Christie, Esq.
      Bjorn Lange, Esq.
      Jonathan Saxe, Esq.
      Michael Smith, Esq.
      Paul Pappas, Esq.
      United States Probation
      United States Marshal




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